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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )             8:04CR309
                    Plaintiff,          )
                                        )
             vs.                        )
                                        )            JUDGMENT
ARMANDO LARA-SALDANA,                   )
                                        )
                    Defendant.          )


      In accordance with the Memorandum and Order filed on this date,

      IT IS ORDERED:

      1.     That the defendant’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing No. 47) is

denied;

      2.     The Clerk is directed to mail a copy of this Memorandum and Order to the

defendant at his last known address.

      DATED this 22nd day of December, 2005.

                                        BY THE COURT:



                                        s/ Joseph F. Bataillon
                                        JOSEPH F. BATAILLON
                                        United States District Judge
